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              IN THE UNITED STATES DISTRICT COURT FOR THE
                        SOUTHERN   DISTRICT OF GEORGIA
                              AUGUSTA DIVISION

                                        *
UNITED STATES OF AMERICA,
                                        *

                                        *
             v.
                                        *


ANTONIO TAGUI,      et al.,
                                        *


        Defendants.                     *              1:13-cr-220-l
                                        *

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                                   ORDER




        Presently   pending   before    the    Court     is    Defendant      Antonio

Tagui's motion        for reconsideration.           (Doc.    470.)     The motion

requests     that the     Court    reconsider       its prior       Order   reducing

Tagui's    sentence     from 121    months    to 120         months in light       of

Guideline Amendment       782.     (Doc.    468.)      For    the   reasons    below,

the Court DENIES Tagui's motion.

        On March 19, 2014, Tagui pleaded guilty to Count One of the

Indictment, which charged a violation of 21 U.S.C. § 846.                       (Doc.

243.)      More specifically,      Tagui admitted that he conspired to

distribute and possess           with intent to distribute            50 grams or

more of methamphetamine in violation of 21 U.S.C.                     § 841(a)(1).

For such a violation, § 841 (b) (1) (A)              provides for a mandatory

minimum penalty of not less than 10 years of imprisonment.
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        At    the time of       sentencing,           the     guideline       range      applicable

to Tagui called for a sentencing range of                              121-151 months.              The

Court    sentenced Tagui to             121 months,           the low end of             the range.

(Doc.    341.)        That    guideline         sentencing          range     has     subsequently

been     lowered       and     made       retroactive           by      the       United       States

Sentencing Commission pursuant                   to     28    U.S.C.    §     994(u).         On   June

22,    2015,       Tagui   moved    for     a    reduced        sentence         pursuant      to    18

U.S.C.       §   3582(c)(2).        (Doc.       460.)         The    Court       granted      Tagui's

motion       and   reduced    his   sentence       from       121    months      to     120   months.


(Doc.    468.)        Tagui's    present        motion        asks    the     Court     to    further

reduce       his    sentence       to   the      low     end     of     the      now     prevailing

guideline range of 97-121 months.                       (Doc. 470 11 2-3.)

        Congress has determined that Tagui's conduct is subject to

a 10-year mandatory minimum sentence.                          21 U.S.C. § 841(b)(1)(A).

Accordingly,         the Court cannot reduce Tagui's sentence below 120

months.          The Court,     therefore,        DENIES        Defendant         Tagui's motion

for reconsideration.            (Doc.     470.)

        ORDER ENTERED at Augusta, Georgia, this r>)™£ day of May
2016.




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                                                             STATES    DISTRICT        JUDGE
                                                        ]RN DISTRICT OF GEORGIA
